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                                           ORDERED.


Dated: November 22, 2023




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:                                               Chapter 11, Subchapter V

AVIATION SAFETY RESOURCES, INC.,                     Case No. 6:23-bk-04639-GER
S.E., INC.,                                          Case No. 6:23-bk-04641-GER
PIONEER AEROSPACE CORPORATION,                       Case No. 6:23-bk-04643-GER

         Debtors.                                    Jointly Administered under
                                             /       Case No. 6:23-bk-04639-GER

S.E., INC.,                                          Case No. 6:23-bk-04641-GER
PIONEER AEROSPACE CORPORATION,                       Case No. 6:23-bk-04643-GER

         Applicable Debtors.
                                             /

                        ORDER GRANTING DEBTORS’
                     MOTION FOR ENTRY OF AN ORDER
                AUTHORIZING (I) THE SALE OF SUBSTANTIALLY
            ALL OF THEIR ASSETS PURSUANT TO 11 U.S.C. § 363, FREE
          AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES, AND
    (II) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CONTRACTS

         THESE CASES came on for continued hearing before the Court on November 21, 2023 at

1:30 p.m. (the “Hearing”), upon the Debtors’ Motion for Entry of an Order Authorizing (I) the

Sale of Substantially All of Their Assets Pursuant to 11 U.S.C. § 363, Free and Clear of All Liens,
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Claims and Encumbrances, and (II) Authorizing the Assumption and Assignment of Contracts

(Docket No. 48) (the “Sale Motion”).1

        This Court has jurisdiction to hear and determine the Sale Motion pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief

requested in the Sale Motion are §§ 105(a), 363, and 365 of title 11 of the United States Code (the

“Bankruptcy Code”) and Rules 2002, 6004, 6006, 9007, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

        Pioneer Aerospace Corporation d/b/a ASR-Pioneer (“Pioneer”) and S.E., Inc. d/b/a Strong

Enterprises (“Strong” and together with Pioneer the “Debtors”) which have assets or operations

located in Bloomfield, Connecticut (the “Connecticut Location”), Columbia, Mississippi (the

“Mississippi Location”), Milton, Florida (the “Milton Location”), and Orlando, Florida (the

“Orlando Location,” and together with the Connecticut Location, the Mississippi Location, and

the Milton Location, each a “Location” and, collectively, the “Locations”).

        Zodiac US Corporation (“Zodiac”) asserts a valid, perfected, first-priority lien on all assets

of Pioneer pursuant to a defaulted pre-petition secured promissory note in the principal amount of

$1,000,000.00 plus interest, default interest, late fees, attorneys fees and other charges which

continue to accrue (generally, as asserted, the “Zodiac Secured Claim”). In addition, Zodiac is the

owner of the Mississippi Location and the Milton Location, which it asserts Pioneer continues to

occupy notwithstanding Zodiac’s termination of the respective leases prior to the Petition Date.




1
 Unless otherwise defined herein, capitalized terms used herein shall have the meaning ascribed to such terms in the
Sale Motion, the Bid Procedures Order, and the Stalking Horse APA.



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       The Court finds that the Debtors have entered into an Asset Purchase Agreement (the

“Stalking Horse APA”), with Paradigm Parachute and Defense, Inc. (“Paradigm” or the

“Purchaser”), providing for the sale (the “Sale”) by the Debtors, and the purchase by the Purchaser,

pursuant to 11 U.S.C. § 363 and subject to Court approval and subject to higher or better offers,

of the Assets (as defined in Section 1.01 of the Stalking Horse APA), free and clear of any and all

claims (including “claims” as defined in Section 101(5) of the Bankruptcy Code), and Liens (as

defined herein), except for the Permitted Liens and the Assumed Liabilities (as such terms are defined

in the Stalking Horse APA). The consideration to be paid for the Assets under the Stalking Horse

APA is the amount of Two Million Two Hundred and Fifty Thousand Dollars ($2,250,000) (the

“Stalking Horse APA Purchase Price”).

       In connection with the Debtors’ proposed sale of the Assets by the Debtors to the Purchaser,

the Debtors filed with the Court the Debtors’ Emergency Motion for Entry of an Order (I)

Approving Bidding Procedures in Connection with the Sale of Debtors’ Assets; (II) Approving

Overbid Amounts and Stalking Horse Expense Reimbursement; (III) Approving Form and Manner

of Notice of Bidding Procedures; and (IV) Setting Objection Deadlines (Case No. 6:23-bk-04643-

GER at Docket No. 15) (the “Bid Procedures Motion”). The Stalking Horse APA was attached as

Exhibit A to the Bid Procedures Motion.

       On November 9, 2023, this Court entered the Order Granting Debtors’ Emergency Motion

for Entry of an Order (I) Approving Bidding Procedures in Connection with the Sale of Debtors’

Assets; (II) Approving Overbid Amounts and Stalking Horse Expense Reimbursement; (III)

Approving Form and Manner of Notice of Bidding Procedures; and (IV) Setting Objection

Deadlines (Docket No. 46) (the “Bid Procedures Order”). In the Bid Procedures Order, the Court

established the following deadlines:




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    Bid Deadline                          November 16, 2023 at 5:00 p.m.
    Cure Amount Objection                 November 17, 2023 at 5:00 p.m.
    Deadline
    Auction                               November 20, 2023 at 12:00 p.m.
    Sale Objection Deadline               November 20, 2023 at 5:00 p.m.
    Assumption Objection                  November 17, 2023 at 5:00 p.m.
    Deadline

        The Bid Procedures Order also approved the notice of the sale and the procedures for

submission of competing bids in connection therewith (the “Bid Procedures”). The Bid Procedures

Order was served on all creditors of the Debtors and certain other parties in interest (Docket No.

53).

        The Court finds that notice of the Sale Motion, the Bid Procedures Order, the Bid Deadline,

the Bid Procedures, the Sale Objection Deadline, the Cure Amount Objection Deadline, the

Assumption Objection Deadline, the Stalking Horse APA, and the Hearing to creditors of the

Debtor and other parties in interest, including any potential bidders for the purchase of the Assets

(the “Potential Bidders”), was adequate and sufficient, was reasonably calculated to provide all

interested parties with timely and proper notice of the Sale and the Hearing, complied in all

respects with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules of this Court and

otherwise satisfies the requirements of due process. The Court further finds that appropriate

certificates of mailing and service have been filed in the docket for this case regarding such notice.

        The Court finds that the Bid Procedures have been duly complied with in all respects by the

Debtors. The Court finds that the implementation and conduct of the Bid Procedures were fair and

reasonable under the circumstances and reasonably calculated to achieve the highest or best price for

the Assets for the benefit of the Debtors’ estates and their creditors. A reasonable opportunity to object

and be heard with respect to the Sale Motion has been afforded to all interested parties. To the extent




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that any of the Bid Procedures Objections were reserved in the Bid Procedures Order for ruling at the

Hearing, such Bid Procedures Objections are overruled in all respects.

        At the Hearing, counsel to the Debtors announced that, as no competing bids were received

by the Bid Deadline, the Auction was cancelled. Prior to the Petition Date, the Debtors employed

Asgaard Capital, LLC (“Asgaard”) in connection with the sale of the Debtors’ assets and for

additional services as financial advisors and understands Asgaard has extensive experience in the

sale of assets. The Debtors have determined, after an extensive marketing effort by Asgaard both

before and after the Petition Date, and as a result of the lack of any competing or otherwise

Qualified Bid, that Paradigm has made the highest or otherwise best offer for the Assets as

reflected in the Stalking Horse APA.

        In addition, counsel for the Debtors proffered (without objection) the testimony of the Asgaard

representative and the Debtors’ representative regarding the marketing of the sale of the Purchased

Assets and the conduct of the Bid Procedures. The Asgaard representative and the Debtors’

representative were present at the Hearing, and all parties present at the Hearing were given the

opportunity to cross-examine the representatives. No party objected to the proffer of the

representatives’ testimony or requested an opportunity to cross-examine the representatives. The

Court accepts the proffered testimony of the representatives. At the Hearing, for the reasons

announced on the record, the Court finds that (i) the offer of the Purchaser as set forth in the Stalking

Horse APA is the highest and best offer received for the purchase of the Assets, and (ii) upon this

Order becoming a Final Order, all conditions precedent to the obligations of the Successful Bidder to

close on the purchase of the Assets set forth in the Stalking Horse APA have been satisfied, and, the

Purchaser is directed to close under the Stalking Horse APA.

        The Court finds that, based upon the entire record:




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(a)     The Debtors advanced sound and sufficient business reasons and it is a reasonable
        exercise of the Debtors’ business judgment pursuant to § 363 of the Bankruptcy Code
        to sell the Assets to the Purchaser, in accordance with the terms of the Stalking Horse
        APA. The sale of the Assets is further justified by the compelling circumstances
        described in the Sale Motion and the representations and proffers offered in support
        of the Sale Motion at the Sale Hearing and at previous hearings before this Court.

(b)     The Stalking Horse APA resulted from an adequate search and marketing process
        under the circumstances and complied with the Bid Procedures.

(c)     The Debtors and the Purchaser have each acted in good faith and without collusion
        or fraud in connection with the preparation, negotiation and execution of the
        Stalking Horse APA, the subject matter of the Sale Motion and this Order, and the
        implementation of the Bid Procedures Order. Without limiting the foregoing, the
        Stalking Horse APA has been negotiated in good faith, at arm’s-length, and not by
        any means forbidden by law. The Court specifically finds that the Purchaser has acted
        in good faith in pursuing and closing the transactions contemplated under the Stalking
        Horse APA, has neither induced nor caused the Debtors’ Chapter 11 filings, and has
        disclosed all payments to be made by the Purchaser in connection with the Sale.
        Accordingly, the Purchaser is entitled to all of the protections afforded under § 363(m)
        of the Bankruptcy Code or otherwise. Neither the Debtors nor the Purchaser has
        engaged in any conduct that would cause or permit the Stalking Horse APA to be
        avoided under § 363(n) of the Bankruptcy Code.

(d)     The Purchaser is not an “insider” or “affiliate” (as such terms are determined in the
        Bankruptcy Code) of the Debtors.

(e)     The consideration provided by the Purchaser for the purchase of the Assets pursuant
        to the Stalking Horse APA exceeds what the Debtors would be able to realize in a
        liquidation of the Assets, represents fair and adequate consideration for the Assets,
        and will provide a meaningful distribution to creditors of the Debtors.

(f)     The Debtors’ determination that the Stalking Horse APA constitutes the highest and
        best offer for the Assets is a good, valid, and sound exercise of the Debtors’ business
        judgment. The Debtors have articulated good and sufficient business justifications for
        the sale pursuant to §§ 363(b) and 363(f) of the Bankruptcy Code.

(g)     The sale to the Purchaser satisfies one or more of the requirements of § 363(f) of the
        Bankruptcy Code as to all secured creditors of the Debtors, including § 363(f)(1), (2),
        (3), and (5).

(h)     The consideration provided by the Purchaser pursuant to the Stalking Horse APA (i)
        is fair and reasonable, (ii) is the highest and otherwise best offer for the Assets, and
        (iii) constitutes reasonably equivalent value (as those terms are defined in each of the
        Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act and §548 of
        the Bankruptcy Code) and fair consideration under the Bankruptcy Code and under



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                  the laws of the United States, any state, territory, possession or the District of
                  Columbia. Approval of the Sale Motion and the Stalking Horse APA, and the
                  consummation of the transactions contemplated hereby, is in the best interests of the
                  Debtors and their estates, creditors, and other parties-in-interest.

          (i)     There is no continuity of enterprise between the Purchaser and the Debtors. The Sale
                  does not amount to a consolidation, merger, or de facto merger of the Purchaser and
                  the Debtor. The Purchaser is not a member of a controlled group with the Debtors by
                  virtue of the purchase of the Assets.

          (j)     The relief requested in the Sale Motion (including, without limitation, the approval of
                  the Stalking Horse APA, the sale of the Assets to the Purchaser, and the assumption
                  and assignment of Contracts to the Purchaser) is a necessary and appropriate step
                  toward enabling the Debtors to successfully conclude these Chapter 11 cases.

          (k)     The sale of the Assets to the Purchaser is in the best interests of the Debtors, their
                  creditors and estates and all parties in interest.

          The Court considered the Sale Motion and the Stalking Horse APA, together with the

record and the arguments of counsel at the Hearing and throughout these Chapter 11 cases, and

the uncontested testimony proffered by counsel at the Hearing, and being otherwise duly advised

in the premises, and for the reasons announced on the record at the Hearing, finds that the relief

requested in the Sale Motion is necessary and appropriate and is in the best interests of the Debtors,

their creditors and estates and all parties in interest, and that the Sale Motion is well taken and shall

be granted in accordance with the terms and conditions set forth herein. Accordingly, it is

          ORDERED:

          1.      The Sale Motion is GRANTED in its entirety subject to the terms of this Order.

          2.      The findings of fact set forth above in this Order be, and the same are, ratified and

adopted as findings of this Court and are incorporated herein. To the extent any of the findings of fact

set forth herein are deemed to be conclusions of law, then such findings are confirmed as conclusions

of law.




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          3.     To the extent not withdrawn in open court, any and all objections to the Sale Motion

are OVERRULED. The Zodiac Cure Objection (Docket No. 65) is sustained to the extent set forth

herein.

          4.     The offer by the Purchaser set forth in the Stalking Horse APA to purchase the

Assets is the highest and best offer for the purchase of the Assets and represents fair and adequate

consideration for the Assets.

          5.     The form and substance of the Stalking Horse APA (including any modifications

thereto included in this Order) and the transactions contemplated thereby are approved in all respects.

After the date of entry of this Order, the Debtors and the Purchaser may enter into any non-material

amendment or modification to the Stalking Horse APA, or such other ancillary agreements in

connection with Closing the sale transaction contemplated therein, including with Zodiac, that is

not adverse to the Debtors’ estates without the need of further notice and hearing or Court order;

provided, however, that any such non-material amendment or modification be in writing executed

by Purchaser and the Debtors, and the Debtors shall provide a copy of such amendment or

modification to the DIP Lender (as defined in the Final Order Granting Debtors’ Emergency

Motion for Authority to Obtain Secured Postpetition Financing and Grant Liens and Superpriority

Administrative Expense Status Pursuant to 11 U.S.C. § 364(c) and F.R.B.P. 4001 (the “Final

Financing Order”)).

          6.     The execution, delivery and performance of the Stalking Horse APA by the Debtors

are ratified and authorized in all respects. No further consents or approvals are required for the

Debtors to consummate the Sale, the Stalking Horse APA, or the transactions contemplated

thereby.




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        7.      The Purchaser shall close (the “Closing”) under the Stalking Horse APA by

December 8, 2023, but in no event later than December 15, 2023. The date of the Closing shall be

referred to herein as the “Closing Date”. Immediately and automatically at Closing, and without

need for further request for relief or order of this Court, the automatic stay shall not apply to efforts

by Zodiac with respect to physical assets at the Mississippi Location and the Milton Location and

all property remaining therein, whether or not Assets or other property acquired by the Purchaser

or retained by the Debtors, and Zodiac may in its sole discretion and without restriction exercise

any of its rights and remedies under applicable law to recover or take possession of the Mississippi

Location or the Milton Location without further order of this Court. In addition, upon the Closing,

Zodiac shall be allowed an administrative expense in the amount of (i) the per diem base rent

contract rate under the pre-petition lease for the Milton Location for the number of days between

the Petition Date and the Closing, and (ii) $40,000.00 for the Mississippi Location, on account of

the Debtors’ post-petition occupancy at the Mississippi Location and the Milton Location, which

shall be paid in full from the sale proceeds at the Closing without reducing the Zodiac Secured

Claim or the Zodiac Proceeds Escrow (defined below).

        8.      Subject to the terms and conditions of the Stalking Horse APA and pursuant to §

363(f) of the Bankruptcy Code, the Debtors shall be, and are, authorized and directed to sell, transfer,

assign and deliver the Assets to the Purchaser free and clear of any and all Liens (defined below),

subject to the payment by the Purchaser of the Purchase Price (as defined in the Stalking Horse APA),

subject to the Permitted Liens, and the assumption and payment by the Purchaser of the Assumed

Liabilities. The Debtors are authorized to execute and deliver all documents (both before and after

the Closing) and to take all appropriate actions necessary to evidence and consummate the Closing

on the sale of the Assets to the Purchaser and the transactions contemplated thereby.




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        9.      The Assets shall be sold free and clear of any and all liens, Claims (as defined in

Section 101(5) of the Bankruptcy Code), encumbrances, interests, liabilities (including any

liability that results from, relates to or arises out of tort or any other product liability claim), duty,

responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure, charge, fee,

penalty, fine, contribution, premium, encumbrance and interest of any kind or nature whatsoever,

including, without limitation, all liens, DIP Liens (as defined in the Final Financing Order), DIP

Obligations (as defined in the Final Financing Order ), Superpriority Claims (as defined in the

Final Financing Order), mechanics’ liens, materialmens’ liens, consensual liens, non- consensual

liens, statutory liens, hypothecations, encumbrances, security interests, interests, mortgages,

security deeds, deeds of trust, debts, indebtedness, damages, levies, indentures, pledges,

restrictions (whether on voting, sale, transfer, disposition or otherwise), charges, leases, licenses,

easements, rights of way, encroachments, instruments, preferences, priorities, security agreements,

conditional sales agreements, title retention contracts and other title retention agreements and other

similar impositions, options, judgments, costs, offsets, recoupments, rights of recovery, consent

rights, rights of pre-emption, rights of setoff, rights of first refusal, other third party rights, other

impositions, imperfections or defects of title or restrictions on transfer or use of any nature

whatsoever, claims for reimbursement, claims for contribution, claims for indemnity, claims for

exoneration, products liability claims, alter-ego claims, successor-in-interest claims, successor

liability claims, substantial continuation claims, COBRA claims, withdrawal liability claims

(including under any Employee Benefit Plan), environmental claims, claims under or relating to

any collective bargaining agreement, Employee Benefit Plan, ERISA affiliate plan, or ERISA

(including any pension or retirement plan), WARN claims or any claims under state or other laws

of similar effect, Tax claims (including claims for any and all foreign, federal, state and local




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Taxes), escheatment claims, reclamation claims, obligations, liabilities, demands, and guaranties,

whether any of the foregoing are known or unknown, choate or inchoate, filed or unfiled, scheduled

or unscheduled, noticed or unnoticed, recorded or unrecorded, secured or unsecured, perfected or

unperfected, allowed or disallowed, contingent or non-contingent, liquidated or unliquidated,

matured or unmatured, material or non-material, disputed or undisputed, whether arising prior to

or subsequent to the commencement of the Bankruptcy Case, and whether imposed by agreement,

understanding, Law, equity or otherwise, including claims otherwise arising under doctrines of

successor liability, successor-in-interest liability, continuation liability or substantial continuation

liability including, without limitation, that the Purchaser is in any way a successor, successor-in-

interest, continuation or substantial continuation of the Debtor or their business (collectively, the

“Liens”), other than the Permitted Liens, the Assumed Liabilities and the agreements and

obligations set forth in this Order. The Purchaser would not have entered into the Stalking Horse

APA and would not have agreed to purchase and acquire the Assets if the sale of the Assets was

not free and clear of any and all Liens (other than Permitted Liens and Assumed Liabilities). Except

as set forth above or elsewhere in this Order or the Stalking Horse APA, the Debtors and the estates

are not releasing any other claim they may have against any person or entity.

       10.     The Stalking Horse APA is valid and enforceable and binding on the Purchaser. After

the Closing, the Purchaser shall pay and perform all of the Assumed Liabilities set forth in the

Stalking Horse APA. With respect to Assumed Liabilities relating to the Mississippi Location or

the Milton Location, including but not limited to those arising under Section 1.3(b) of the Stalking

Horse APA, Paradigm shall pay any and all such fees, costs, and liabilities associated with the

post-Closing occupancy of any Assets at the Milton Location and the Mississippi Location in

accordance with the terms of the Transition Lease Agreement between Purchaser and Zodiac; and




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provided further that Zodiac shall be entitled to seek the allowance and payment of any such post-

Closing fees, costs, and liabilities from the Debtors or their estates to the extent unpaid by

Paradigm, and the Debtors reserve all right, claims, and defenses thereto.

        11.     The transfer of the Assets to the Purchaser will be a legal, valid, and effective transfer

of the Assets and will vest the Purchaser with all right, title and interest of the Debtors in and to the

Assets, free and clear of all Liens of any kind or nature whatsoever, other than the Permitted Liens

and the Assumed Liabilities, including, but not limited to (i) those that purport to give to any party a

right or option to effect any forfeiture, modification, right of first refusal, or termination of the

Debtors’ or the Purchaser’s interest in the Assets, or any similar rights, (ii) those relating to taxes

arising under or out of, in connection with, or in any way relating to the operation of the Assets prior

to the Closing, and (iii) (A) all mortgages, deeds of trust, security interests, conditional sale or other

title retention agreements, pledges, liens, judgments, rights of setoff, demands, encumbrances, rights

of first refusal, or charges of any kind or nature, if any, including, but not limited to, any restriction

on the use, occupancy, tenancy, transfer, receipt of income or other exercise of any attributes of

ownership, and (B) all debts arising in any way in connection with any agreements, acts, or failures

to act, of the Debtors.

        12.     All Liens shall attach immediately and automatically to the sale proceeds with the

same extent, validity, rank and priority as such Liens had in the Assets on the date of Closing. In

the event the Closing of the Paradigm Sale occurs prior to the parallel sale of Pioneer’s assets to

Space Exploration Technologies Corp. under that certain separate Asset Purchase Agreement for

Pioneer’s Connecticut assets, within one (1) business day of receiving the Purchase Price, the

Debtors shall place $1,250,000.00 in a segregated escrow (the “Zodiac Proceeds Escrow”)

maintained by Debtors’ counsel. The Zodiac Proceeds Escrow shall remain in escrow and held in




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trust pending resolution of the Debtors’ dispute as to the Zodiac Secured Claim. The Zodiac

Proceeds Escrow funds shall not be released to, or used or accessed by, any party without further

order of the Court. For the avoidance of doubt and consistent with the terms of this paragraph, the

Zodiac Proceeds Escrow funds shall at all times be and remain subject to all Liens of Zodiac as

applied to the Assets in the same extent, validity, and priority.The Debtors reserve all rights, claims

and objections with regard to any claims or interests asserted by Zodiac related to the Zodiac

Secured Claim and with regard to the leases in place at the Mississippi Location and the Milton

Location.

       13.     If any person or entity that has filed financing statements or other documents or

agreements evidencing Liens on or in the Assets shall not have delivered to the Debtors at or prior

to the Closing, in proper form for filing and executed by the appropriate parties, termination

statements, instruments of satisfaction, or releases of Liens which the person or entity has with

respect to the Assets, the Debtors or the Purchaser, as the case may be, is authorized and directed

to execute and file such statements, instruments, releases and other documents on behalf of the

person or entity with respect to the Assets. The Purchaser is authorized to file, register or otherwise

record a certified copy of this Order, which, once filed, registered or otherwise recorded, shall

constitute conclusive evidence of the release of all Liens in or on the Assets of any kind or nature

whatsoever, other than the Permitted Liens and the Assumed Liabilities.

       14.     The Debtors and the Purchaser have acted in good faith, the terms and conditions

of the Stalking Horse APA are fair and reasonable and have been negotiated and agreed upon in

good faith on the part of the Debtors and the Purchaser, and the Purchaser is an arm’s length

purchaser who is purchasing the Assets in good faith.




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       15.     The Purchase Price constitutes reasonably equivalent and fair market value under

the Bankruptcy Code and applicable non-bankruptcy law. Accordingly, the Purchaser shall be

entitled to all of the protections afforded by Section 363(m) of the Bankruptcy Code. Neither the

Debtor nor the Purchaser have engaged in any conduct that would cause the Stalking Horse APA

to be avoided under Section 363(n) of the Bankruptcy Code.

       16.     On the Closing Date, this Order shall be construed and shall constitute for any and

all purposes a full and complete general assignment, conveyance and transfer of the Assets and a

bill of sale transferring good and marketable title in the Assets to the Purchaser free and clear of

all Liens, except for the Permitted Liens and the Assumed Liabilities. Each and every federal, state,

and local governmental agency or department is directed to accept any and all documents and

instruments necessary and appropriate to consummate the transactions contemplated by the

Stalking Horse APA.

       17.     Any real estate, personal property or other taxes related to the Assets accruing after

the Closing Date shall be the responsibility of the Purchaser. The Purchaser shall take title to the

Assets subject to real estate, personal property or other taxes (excluding income taxes) relating to

the Assets accruing after the Closing Date and shall indemnify the Debtors with respect thereto.

Upon the consummation of the Closing on the purchase of the Assets, any taxing authorities or

governmental agencies having jurisdiction over the Assets shall have no further claim against the

Debtors or the estate for taxes (excluding income taxes) accruing after the Closing Date.

       18.     Parties to Assumed Contracts who received notice of the Contract Objection

deadline at an address outside of the United States (the “Foreign Contracts”) shall have until

December 6, 2023 at 5:00 p.m. to file a Contract Objection in compliance with the Bid Procedures

Order. Purchaser shall have until the later of (i) ten (10) days after the resolution of such Contract




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Objection or (ii) twenty-one (21) days after the Closing Date to amend the schedule of Assumed

Contracts to the Stalking Horse APA to add or remove the Assumed Contract as to such Foreign

Contracts.

       19.      Pursuant to Sections 105(a) and 365 of the Bankruptcy Code, and subject to and

conditioned upon the Closing, the Debtors’ assumption and assignment to Purchaser and

Purchaser’s assumption of the Assumed Contracts on the terms set forth in the Stalking Horse

APA is approved and the requirements of Section 365(b)(1) of the Bankruptcy Code with respect

thereto are satisfied. The Debtors are authorized and directed, in accordance with Sections 105(a),

363,and 365 of the Bankruptcy Code to (i) assume and assign the Assumed Contracts to Purchaser,

free and clear of Liens, or other interests and (ii) execute and deliver to Purchaser such documents

or other instruments as may be necessary to assign and transfer the Assumed Contracts to

Purchaser. No sections or provisions of any Assumed Contract that purports to provide for

additional payments, penalties, charges or other financial accommodations in favor of the

counterparty to such Assumed Contract shall have any force or effect with respect to the Sale and

assignments authorized by this Sale Order, and such provisions constitute unenforceable anti-

assignment provisions under Section 365(f) of the Bankruptcy Code and are otherwise

unenforceable under Section 365(e) of the Bankruptcy Code. No assignment of any Assumed

Contract pursuant to the terms of this Sale Order or the Stalking Horse APA shall constitute a

default under the terms of such Assumed Contract, and the counterparty to any Assumed Contract

shall be deemed to have consented to such assignment under Section 365(c)(1)(B) of the

Bankruptcy Code, and Purchaser shall enjoy all of the Debtors’ rights and benefits under the

Assumed Contracts as of the applicable date of assumption without the necessity of obtaining such

counterparty or other Person’s of third party’s consent to the assumption or assignment thereof.




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Each counterparty to any Assumed Contract shall be forever barred and enjoined from raising or

asserting against (i) Purchaser, (ii) any of Purchaser’s affiliates, successors or assigns, or (c) the

Assets, any assignment fee, default, breach, Lien, pecuniary loss, or condition to assignment

arising under or related to such Assumed Contract as of the Closing or arising by reason of the

Closing other than the payment of any required Cure Amount. Other than the payment of any Cure

Amount, no other act or cure is or shall be required with respect to the assumption and assignment

of any Assumed Contract and the cure of any default or alleged default thereof.

           20.     Other than amounts owed to Asgaard by the Debtors,2 neither the Debtors nor

Purchaser shall be liable for, and no portion of the Purchase Price or the Deposit shall be disbursed

for, any brokerage commissions or finder’s fees with respect to the sale of the Assets.

           21.     Notice of the Sale Motion, the Bid Procedures Order, the Bid Deadline, the Bid

Procedures, the Sale Objection Deadline, the Cure Amount Objection Deadline, the Competing

Bidder Sale Objection Deadline, the Competing Bidder Assumption Objection Deadline, to

creditors of the Debtors and other parties in interest, including any potential bidders, was adequate

and sufficient, complied in all respects with the Bankruptcy Code, the Bankruptcy Rules, and the

Local Rules of this Court and otherwise satisfies the requirements of due process.

           22.     Any creditor of the Debtors, potential bidder, or other party in interest that did not

file and serve, on or before the Objection Deadline, a written objection to the Sale Motion or the

sale contemplated by the Stalking Horse APA shall be, and is, deemed to have waived any

objection it may have to the Sale Motion or the sale of the Assets to the Purchaser and to have

released all Liens in or on or with respect to the Assets, except for the Permitted Liens and the

Assumed Liabilities.


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    Payment of any such amounts must be sought by application and allowed by the Court.



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       23.     With the sole exception of any obligations of the Purchaser under the Stalking

Horse APA or this Order, including the Permitted Liens and the Assumed Liabilities, and

specifically including Paradigm’s post-Closing obligations to Zodiac as provided for in Paragraph

10 of this Order, the Purchaser does not and shall not be deemed to, pursuant to the Stalking Horse

APA or otherwise, assume, agree to perform, or pay any Liens, liabilities, claims, debts or

obligations of the Debtors. The Purchaser shall not be, nor shall it be deemed to be, a successor or

successor in interest to the Debtors by reason of any theory of law or equity, and the Purchaser

shall not have any successor or transferee liability of any kind or character.

       24.     The terms of this Sale Order shall be binding on in all respects upon: (a) the

Purchaser and its successors and assigns; (b) the Debtors; (c) any successor of the Debtors,

including, without limitation, any trustee or examiner appointed in the Chapter 11 cases or upon a

conversion of any Chapter 11 case to cases under chapter 7 of the Bankruptcy Code; (d) all

creditors of, and holders of equity interests in, the Debtors, including, without limitation, any

holders of Liens; (e) all parties to a Contract; (f) all parties filing or making objections to the Bid

Procedures Motion or the Sale Motion; (g) all state and federal licensing authorities; and (h) all

other parties in interest in the Chapter 11 cases and their successors and assigns (collectively, the

“Bound Parties”). This Sale Order shall survive any dismissal of any Chapter 11 case

notwithstanding section 349 of the Bankruptcy Code. The provisions of this Sale Order and the

terms and provisions of the Stalking Horse APA, and any actions taken pursuant hereto or thereto

as of the date of entry of such order shall survive the entry of and shall not be modified without

the written consent of Purchaser by any order that may be entered confirming or consummating

any Chapter 11 plan of any Debtor or converting any Debtor’s Chapter 11 case to chapter 7, and

the terms and provisions of the Stalking Horse APA, as well as the rights and interests granted




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pursuant to this Sale Order and the Stalking Horse APA shall continue in this or any superseding

case and shall be binding upon the Bound Parties and their respective successors and permitted

assigns, including, without limitation, any trustee or other fiduciary hereafter appointed as a legal

representative of any Debtor under Chapter 7 or Chapter 11 of the Bankruptcy Code.

        25.     The Cooperation Protocol, filed by the Debtors at Docket No. 64, is approved, and

each of the Debtors and the Stalking Horse Bidders (as defined therein) shall comply with the

terms and procedures of the Cooperation Protocol in all respects as if fully set forth herein.

        26.     Purchaser shall not be deemed to be a joint employer, single employer, co-

employer, or successor employer with any Debtor for any purpose or under the laws of the United

States, any state, territory, or possession thereof, and Purchaser shall not have any obligation to

pay any past wages, benefits, or severance pay or extend or make any benefits or benefit programs,

including, without limitation, the Consolidated Omnibus Budget Reconciliation Act of 1985 or

any similar laws or regulations, to any of the Debtors’ employees or former employees, including,

without limitation, any such employees who may become employees of Purchaser.

        27.     Effective on the Closing Date, except as otherwise provided in this Sale Order or the

Stalking Horse APA, all Persons asserting Liens, and/or contract rights against the Debtors and/or

any of the Assets are permanently enjoined and precluded from, with respect to such Liens and/or

contract rights: (a) asserting, commencing, or continuing in any manner any action against the

Purchaser and/or its affiliates, designees, assignees, successors, directors, officers, employees, equity

holders, authorized signatories, members, agents, representatives, attorneys (collectively, the

“Protected Parties”) or any of their respective property or assets, including, without limitation, against

the Purchased Assets; (b) the enforcement, attachment, collection, or recovery, by any manner or

means, of any judgment, award, decree, or order against the Protected Parties or any properties or




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Purchased Assets of the Protected Parties; (c) creating, perfecting, or enforcing any Liens of any kind

against the Protected Parties or any properties or Assets of the Protected Parties, including, without

limitation, the Assets; (d) asserting any setoff or right of subrogation of any kind against any

obligation due or owed to the Protected Parties; and (e) taking any action, in any manner, in any place

whatsoever, that does not conform to or comply with the provisions of this Sale Order or the Stalking

Horse APA.

        28.      The failure specifically to include any particular provisions of the Stalking Horse

APA in this Order shall not diminish or impair the effectiveness of such provision, it being the

intent of the Court that the Stalking Horse APA be authorized and approved in its entirety (as

modified herein). To the extent there is any inconsistency between the provisions of this Order and

the terms of the Stalking Horse APA or the Sale Motion or any plan confirmed in this case or any

order confirming such plan or any other order entered in this case, the provisions of this Order

shall control.

        29.      This Court retains jurisdiction (a) to interpret, implement and enforce the provisions

of this Order, and (b) to enforce and implement the terms and provisions of the Stalking Horse

APA, all amendments thereto, any waivers and consents thereunder, and of each of the agreements

executed in connection therewith in all respects, including, but not limited to, retaining jurisdiction

to (i) subject to the terms and conditions of the Stalking Horse APA, compel delivery of the Assets

to the Purchaser or the performance of other obligations of the Debtors under the Stalking Horse

APA and each of the agreements executed in connection therewith, (ii) compel delivery of the

Purchase Price by the Purchaser or the performance of other obligations of the Purchaser under

the Stalking Horse APA and each of the agreements executed in connection therewith, including

(without limitation) the timely payment of the Deposit and the Assumed Liabilities, and (iii)




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resolve any disputes arising under or related to the Stalking Horse APA and each of the agreements

executed in connection therewith, including the disbursement of the Deposit; provided, however,

that in the event the Court abstains from exercising or declines to exercise such jurisdiction or is

without jurisdiction with respect to the Stalking Horse APA or each of the agreements executed in

connection therewith or this Order, such abstention, refusal or lack of jurisdiction shall have no

effect upon, and shall not control, prohibit or limit the exercise of jurisdiction of any other court

having competent jurisdiction with respect to any such matter.

          30.   The sale transaction consummated pursuant to this Sale Order shall be binding upon

and shall govern the acts of all Persons who may be required by operation of law, the duties of

their office, or contract, to accept, file, register, or otherwise record or release any documents or

instruments, or who may be required to report or insure any title or state of title in or to any of the

property sold pursuant to this Sale Order, including, without limitation, all filing agents, filing

officers, title agents, title companies, recorders of mortgages, recorders of deeds, administrative

agencies, governmental departments, secretaries of state, and federal, state, and local officials, and

each of such Persons is directed to accept this Sale Order as sole and sufficient evidence of such

transfer of title and shall rely upon this Sale Order in consummating the transactions contemplated

hereby.

          31.   The 14-day stay periods set forth in Rules 6004(h) and 6006(d) of the Federal Rules

of Bankruptcy Procedure are waived, for good cause shown, and this Order shall be immediately

enforceable and the Closing under the Stalking Horse APA with the Purchaser may occur

immediately following the entry of this Order.

                                                ###
Daniel R. Fogarty, Esq. is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.



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